UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                                 Chapter 11
RS OLD MILL, LLC,                                                      Case No. 17-22218 (RDD)

                                   Debtor.

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         ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM
         AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

                 UPON the application of the debtor, RS Old Mill, LLC (the “Debtor”), dated

February 24, 2017 (the “Motion”) by its proposed counsel, for an order, pursuant to Federal Rule

of Bankruptcy Procedure (“Bankruptcy Rule”) 3003(c)(3), fixing a deadline (the ABar Date@) and

establishing procedures for filing proofs of claim and approving the form and manner of service

thereof, and it appearing that the relief requested is in the best interests of the Debtor, its estate,

and creditors and that adequate notice has been given and that no further notice is necessary; and

after due deliberation and good and sufficient cause appearing therefor, it is hereby

                 ORDERED that, pursuant to Bankruptcy Rule 3003(c)(3), and except as

otherwise provided herein, all persons and entities (including, without limitation, each

individual, partnership, joint venture, corporation, estate, trust and governmental unit) that assert

a claim, as such term is defined in §101(5) of the Bankruptcy Code, against the Debtor which

arose on or prior to the filing of the Chapter 11 petition on February 13, 2017 (the “Filing Date”),

shall file proof of such claim in writing so that it is received on or before April 14, 2017 at 5:00

p.m. (Prevailing Eastern Time); and it is further

                 ORDERED, that notwithstanding any other provision hereof, proofs of claim

filed by governmental units must be filed on or before August 14, 2017; and it is further

                 ORDERED, that the following procedures for the filing of proofs of claim shall
apply:

                (a)    Proofs of claim must conform substantially to Official Bankruptcy Form
                       410;

                (b)    Attorneys (with full access accounts) and employees of institutional
                       creditors (with limited access accounts) should file proofs of claim
                       electronically on the Court=s Case Management/Electronic Case File
                       (“CM/ECF”) system. Those without accounts with the CM/ECF system
                       may electronically create and file proofs of claim through the “File A
                       Proof of Claim” link on the Court’s website at www.nysb.uscourts.gov or
                       by mailing or delivering the original proof of claim to the United States
                       Bankruptcy Court, Southern District of New York, 300 Quarropas Street,
                       White Plains, New York, New York 10601;

                (c)    Proofs of claim will be deemed filed only when a proof of claim is
                       received by the Clerk of the Bankruptcy Court on or before the Bar Date;

                (d)    Proofs of claim must: (i) be signed; (ii) include supporting documentation
                       (if voluminous, attach a summary) or an explanation as to why
                       documentation is not available; (iii) be in the English language; and (iv) be
                       denominated in United States currency;

and it is further

                ORDERED that the following persons or entities are not required to file a proof

of claim on or prior to the Bar Date:

                (a)    Any person or entity that already has filed a proof of claim against the
                       Debtor in a form substantially similar to Official Bankruptcy Form No.
                       410;

                (b)    Any person or entity whose claim is listed on the Schedules filed by the
                       Debtor, provided that (i) the claim is not scheduled as “disputed”,
                       “contingent” or “unliquidated”; and (ii) the claimant does not disagree
                       with the amount, nature and/or priority of the claim as set forth in the
                       Schedules;

                (c)    Any holder of a claim that heretofore has been allowed by Order of this
                       Court;
               (d)     Any person or entity whose claim has been paid in full by any of the
                       Debtor;

               (e)     Any holder of a claim for which specific deadlines have previously been
                       fixed by this Court;

               (f)     Any holder of a claim allowable under §503(b) and §507(a)(2) of the
                       Bankruptcy Code as an expense of administration; and it is further

               ORDERED that any person or entity holding a claim arising from the rejection of

an executory contract or unexpired lease, as to which the order authorizing such rejection is

dated on or before the date of entry of this Order, must file a proof of claim based on such

rejection on or before the Bar Date, and any person or entity that holds a claim that arises from

the rejection of an executory contract or unexpired lease, as to which an order authorizing such

rejection is dated after the date of entry, of this Order, must file a proof of claim on or before

such date as the Court may fix in the applicable order authorizing such rejection; and it is further

               ORDERED, that holders of equity security interests in the Debtor need not file

proofs of interest with respect to the ownership of such equity interests, provided, however, that

if any such holder asserts a claim against the Debtor (including a claim relating to an equity

interest or the purchase or sale of such equity interest), a proof of such claim must be filed on or

prior to the Bar Date pursuant to the procedures set forth in this Order; and it is further

               ORDERED that, if the Debtor amends or supplements the Schedules subsequent

to the date hereof, the Debtor shall give notice of any amendment or supplement to the holders of

the claims affected thereby, and such holders shall be afforded 30 days from the date of such

notice to file proofs of claim in respect of their claims or be barred from doing so and shall be

given notice of such deadline; and it is further

               ORDERED, that nothing in this Order shall prejudice the right of the Debtor or

any other party in interest to dispute or assert offsets or defenses to any claim reflected in the

Schedules; and it is further
                ORDERED that, pursuant to Bankruptcy Rule 3003(c)(2), all holders of claims

that fail to comply with this Order by timely filing a proof of claim in appropriate form shall not

be treated as a creditor with respect to such claim for the purposes of voting and distribution; and

it is further

                ORDERED that a copy of the notice substantially in the form annexed hereto is

approved and shall be deemed adequate and sufficient if served by first-class mail at least thirty-

five (35) days prior to the Bar Date on:

                (a)    the United States Trustee;

                (b)    counsel to each official committee;

                (c)    all persons or entities that have requested notice of the proceedings in the
                       chapter 11 case;

                (d)    all persons or entities that have filed claims;

                (e)    all creditors and other known holders of claims as of the date of this
                       Order, including all persons or entities listed in the Schedules as holding
                       claims;

                (f)    all parties to executory contracts and unexpired leases of the Debtor;

                (g)    all parties to litigation with the Debtor;

                (h)    the Internal Revenue Service for the district in which the case is pending
                       and, if required by Bankruptcy Rule 2002(j), the Securities and Exchange
                       Commission and any other governmental units (a list of such agencies is
                       available from the Office of the Clerk of the Court); and

                (i)    such additional persons and entities as deemed appropriate by the Debtor;

and it is further;

                ORDERED, that any person or entity who desires to rely on the schedules will

have the responsibility for determining that the claim is accurately listed in the schedules; and it

is further

                ORDERED, that the Debtor is authorized and empowered to take such steps and
perform such acts as may be necessary to implement and effectuate the terms of this Order; and

it is further

                ORDERED, that entry of this Order is without prejudice to the right of the

Debtor to seek a further Order of this Court fixing the date by which holders of claims or

interests not subject to the Bar Date established herein must file such proofs of claim or interest

or be barred from doing so

Dated: New York, New York
       February 27, 2017
                                             /s/Robert D. Drain______________________
                                             HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE
